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                                                                                                          THE HON. PAULPAPAK




                                         UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF OREGON - PORTLAND DIVISION


  DANIEL MILLS, an individual,                                                              Case No. 3:15-CV-01978-PK
                Plaintiff,                                                                  STIPULATION AND
                                                                                            ~P R°f!llJD) ORDER OF
                                                                                                 0


  vs.
                                                                                            DISMISSAL OF CLAIMS
                                                                                            BETWEEN ALL PARTIES
  STILLWATER PROPERTY & CASUALTY
  INSURANCE COlvfPANY, a foreign corporation,

                Defendant.

                                                                         I.      STIPULATION

              Stillwater Property & Casualty Insurance Company ("Stillwater") and Daniel Mills, by

and through their counsel of record, hereby stipulate to the dismissal of any and all claims that

have been or could have been asserted against ·each other in this matter, with prejudice and

without an award of costs or fees. These patiies have settled all claims among them.

              DATED this 22nd day of June, 2016.

   s! Andrew C. Lauersdorf                                                           Isl Thomas Lether
   s/ Scott }vfacLaren                                                               Thomas Lether, OSB #101708
   Andrew C. Lauersdorf, OSB #980739                                                 LETHER & ASSOCIATES, PLLC
   Scott MacLaren, OSB # 123799                                                      1848 Westlake Avenue N, Suite 100
   1111 E: Burnside St., Suite 300                                                   Seattle, WA 98109
   Portland, Oregon 97214                                                            P: (206) 467-5444


ST!PULATION & (I nor 63-J ORDER OF                                                               LETHER & ASSOCIATES, PLLC
DISMISSAL OF CLAIMS BETWEEN                                                                   1848 WESTLAKE AVEN., SUITE 100
ALL PARTIES - 1                                                                                      SEATILE, WA 98109
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    t. 503.245.1535                                                               F: (206) 467-5544
   fx. 503.245.1417                                                               tlether@letherlaw.com
   acl@coveragelit.com                                                            Counsel for Defendants Stillwater
   sam@coveragelit.com                                                            Property & Casualty Insurance Company
   Counsel for Plaintiff Daniel },Ii/ls

                                                                            II.   ORDER

               Based on the foregoing stipulation, it is hereby ORDERED that

               I.             Any and all claims that have been or could have been asserted in this matter

                              among Stillwater Prope1ty & Casualty Insurance Company and Daniel Mills are

                              dismissed, with prejudice and without an award of costs or fees.




Presented by:

Isl Thomas Lether                                                                   s/ Andrew C. Lauersdorf
Thomas Lether, OSB #101708                                                          s/ Scott lvfaclaren
1848 Westlake Ave N., Suite 100                                                     Andrew C. Lauersdorf, OSB #980739
Seattle, WA 98109                                                                   Scott Maclaren, OSB #123799
                                                                                    1111 E. Burnside St., Suite 300
Telephone: (206) 467-5444                                                           Portland, Oregon 97214
Facsimile: (206) 467-5544                                                           t. 503.245.1535
tlether@letherlaw.com                                                               fx. 503.245.1417
Counsel for Defendant Stillwater                                                    acl@coveragelit.com
Property & Casualty Insurance Company                                               sam@coveragelit.com
                                                                                    Counsel for Plaintijj'Daniel 1\Iills




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DISMISSAL OF CLAIMS BETWEEN                                                                1848 WESTLAKEAVEN., SUITE 100
ALL PARTIES - 2                                                                                   SEATTLE, WA 98109
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              Case 3:15-cv-01978-PK                                  Document 23   Filed 06/27/16      Page 3 of 3




                                                           CERTIFICATE OF SERVICE

             The undersigned hereby certifies under penalty of pe1jury under the laws of the United

States of America that on this date I caused to be served in the manner noted below a true and

correct copy of the foregoing on the following parties as indicated:


             Andrew C. Lauersdorf
             Scott Maclaren
             1111 E. Burnside St., Suite 300
             Portland, Oregon 97214
             t. 503.245.1535
             fx. 503.245.1417
             acl@coveragelit.com
             sam@coveragelit.com
             Counsel for Plaintiff

              [X] ECF                     [ l          Via Email          [ ] US Mail        [ ]     Legal Messenger

             DATED this 22nd day of June, 2016.

                                                                              Isl Hugh Engelhoff
                                                                              Hugh Engelhoff, Paralegal




STIPULATION &Jj)MP 0 WP) ORDER OF                                                      LETHER & ASSOCIATES, PLLC
DISMISSAL OF CLAIMS BETWEEN                                                         I848 WES1LAKE AVEN., SUITE 100
ALL PARTIES - 3                                                                            SEATTLE, WA 98109
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